Filed 05/23/23                                          Case 23-21667                                               Doc 2

                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF CALIFORNIA

     In re                                               )
             Solano County Black Chamber of Commerce,    )
             Inc.                                        )
                                                         )     Case No.
                                                         )
                                                         )
                                                         )


                                    VERIFICATION OF MASTER ADDRESS LIST

          I (we) declare under penalty of perjury that the attached Master Address List is a true, correct,
    and complete list of creditors and their addresses in this case.

             I (we) acknowledge the following:

    x        Filing a Master Address List with incomplete or incorrect addresses may mean that creditor(s)
             with incomplete or incorrect address(es) may not receive notification of this Bankruptcy case.

    x        The debtor(s) and the debtor’s(s’) attorney or bankruptcy petition preparer, if any, share
             responsibility for the accuracy and completeness of the attached Master Address.

    x        The Court will use the addresses on the attached Master Address List for all items that the Court
             mails, and will not rely on other documents filed in this case (such as schedules and statements
             required by the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure) to obtain or
             verify the addresses of creditors.


     DATED:          May 23, 2023                                    /s/ Tamuri Richardson
                                                                     Debtor's Signature


    Submit this form and your Master Address List to one of the following addresses:

     Sacramento Division                    Modesto Division                       Fresno Division
     501 I Street, Suite 3-200              Mailing Address:                       2500 Tulare Street, Suite 2501
     Sacramento, CA 95814                   501 I Street, Suite 3-200              Fresno, CA 93721
                                            Sacramento, CA 95814

                                            Physical Address:
                                            1200 l Street, Suite 4
                                            Modesto, CA 95354




    EDC 2-100 (Rev. 6/20/17)
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           Solano County Black Chamber of Commerce, Inc.




           Partnership Healthplan of California

           C/O Hillman, Lucas & Canning, P.C.

           Attn: Joseph M. Canning

           2420 Martin Road, Suite 300

           Fairfield, CA 94534
